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        MEDICAL SCREENING APPARATUS AND                           housing  for automatically   executing a medical test on a user
                            METHOD                                and generating a test output, and transmitting the test output
                                                                  to a remote site for analysis.
           CROSS REFERENCE TO CO-PENDING                             Preferably, the user interface is implemented by providing
                          APPLICATION                             a Video display terminal in the housing which is capable of
     This application claims the benefit of the filing date of receiving user data in response to visual prompts generated
  co-pending Provisional Patent Application Ser. No. 60/183, by       a control means on the Video display terminal and/or
                                                                  displaying  the medical test output on the display terminal.
  592 filed Feb. 18, 2000, and entitled Retinal Screening
  Apparatus.                                                         The method further includes the step of providing the test
                                                                  apparatus as a retinal Screening apparatus which includes a
                          BACKGROUND                              digital retinal camera. The method includes the Steps of
                                                                  establishing a predetermined position of the patient's eye
     Diabetes is a leading cause of blindness in the United from the digital camera for implementing the retinal Screen
  States. Unfortunately, despite access to medical care, many ing test.
  patients are going undiagnosed in terms of their diabetic eye 15 The medical Screening apparatus and method of the
  disease. Many efforts have been directed to Screening; present invention affords numerous advantages. The primary
  however, Such efforts are still ineffective. An HMO states      advantage is the easy and quick taking of a medical Screen
  that only 33% of its diabetic patients are actually obtaining ing
  yearly eye exams, despite widespread educational efforts. userstestto on     a user or patient. This simple procedure causes
                                                                            more  readily have the medical Screening test per
  Glaucoma is another Serious cause of blindness in the United
  States that is under detected.                                  formed So as to detect any diseases at an earlier Stage. The
                                                                  entire operation of the apparatus is automated So as to
     In an effort to increase the percentage of patients who are Simplify its use by numerous users when the apparatus is
  obtaining yearly eye exams to detect diabetes effects, glau placed in a public location, Such as a shopping mall, etc.
  coma and other eye problems in an earliest possible Stage, a 25 The apparatus is also capable of taking one or more tests.
  new approach is warranted.                                      The use of the global telecommunication network for trans
                            SUMMARY                               mitting the test results enables each test to be analyized by
                                                                  a central test organization for test result consistency.
     The present invention is an apparatus and method for                 BRIEF DESCRIPTION OF THE DRAWING
  conducting a medical Screening test on a user patient.
     In one aspect of the invention, the medical Screening           The various features, advantages and other uses of the
  apparatus includes a housing, a user interface mounted in the present invention will become more apparent by referring to
  housing for inputting patient-related data, medical test appa the following detail description and drawing in which:
  ratus mounted in the housing for conducting a medical test         FIG. 1 is a pictorial representation of a kiosk type remote
  on a user and generating a test output, and means for 35 unit used in the retinal Screening apparatus of the present
  communicating with the medical test apparatus for trans invention;
  mitting the test output and patient data to a remote Site for      FIG. 2 is a pictorial representation of the internal com
  analysis.                                                       ponents in the kiosk shown in FIG. 1;
     In one aspect, the apparatus further includes a control         FIG. 3 is a block diagram of the internal components of
  means in the housing for controlling the user interface, 40 a remote unit shown in FIG. 1; and
  activation of the medical test apparatus and operation of the      FIG. 4 is a pictorial representation of a wide area imple
  transmitting means. Preferably the control means includes a mentation of the retinal Screening apparatus of the present
  central processing unit executing a control program Stored in invention.
  a memory coupled to the central processing unit.
     The transmitting means preferably comprises means for 45               DESCRIPTION OF THE PREFERRED
  communicating the test output to the remote site via a global                          EMBODIMENTS
  telecommunication network, Such as the Internet.                   Referring now to the drawing, and to FIGS. 1-4 in
     In another aspect, the user interface preferably comprises particular, there is depicted a retinal Screening apparatus and
  a Video display terminal. The display terminal can be 50 System according to the present invention. The System 10,
  capable of receiving only user input data in response to shown in FIG. 4, includes at least one and preferably a
  Visual prompts generated by the control means. Alternately, plurality of remote units 12 which are each situated in a
  the Video display terminal is also capable of displaying the public place capable of exposure to large numbers of people,
  test output.                                                      Such as malls, movie theaters, etc.
     In one specific aspect, the medical test apparatus is a 55 Each remote unit 12 is in the form of a stand alone
  retinal Screening apparatus. The retinal Screening apparatus housing 14 which, in the exemplary embodiment shown in
  preferably includes a digital retinal camera. Means are FIGS. 1 and 2, is in the form of a kiosk. The housing 14 may
  provided for establishing a predetermined position of the take any shape with the illustrative cylindrical shape being
  user's or patient's eye with respect to the camera. This understood to be by example only. Square, and other multi
  position may be provided by a chin Support mounted at a 60 sided housing configurations are also possible.
  fixed distance from the camera in the housing or a Seat          The outer Surfaces of the housing 14 are amenable to
  mounted on the housing at a fixed distance from the camera.   advertisements from local merchants as well as educational
     In another aspect, the invention is a method of automati information concerning eye disease. Instructions for use of
  cally conducting a medical Screening test on a user or the retinal Screening apparatus 12 may also be placed on the
  patient. The method includes Steps of providing a housing, 65 exterior of the housing 14.
  providing a user interface in the housing for receiving          As shown in FIGS. 1 and 2, a chair or seat 16 is optionally
  user-related data, providing a medical test apparatus in the attached to the housing 14 by means of a support bracket 18.
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  The entire seat 16 and Support bracket 18 may be fixedly or,           Also housed with the housing 14 is a central processing
  preferably, pivotally attached to the housing 14. This enables      unit 40, Such as a microprocessor, microcontroller, etc. The
  the seat 16 to be pivoted into close proximity with the             central processor, hereafter referred to as a CPU 40, accesses
  housing 14 So as not to protrude a great distance beyond the        a Stored program contained in a memory 42, either contained
  peripheral extent of the housing 14 when not in use.                within the microprocessor 40 or as a separate memory
    It should be noted that the size of the seat 16 and the           element connected in data communication with the CPU 40.
  length of the bracket 18 may be selected to provide an                 The CPU 40 thus is capable of generating instructions for
  appropriate focal distance for a patient from a fixation target     use of the retinal Screening apparatus 12 as well as receiving
  21 which is mounted in front of or slightly adjacent to a lens      patient input demographics, displaying a set of control
  20 of a camera 22 mounted within the housing 14. The lens           digital retinal images and patient retinal images on the
  20 is covered by a protective plate, Such as a transparent          monitor 30.
  glass or plastic panel mounted in the Side wall of the housing       In use, the touchscreen 26 or, in a printed chart mounted
  14.                                                               on the housing 14 of the retinal Screening apparatus 12, a Set
     In certain applications, it may be desirable to dispense of instructions will be provided. A patient will input various
  with the seat 16 and merely provide a mark on the floor at 15 patient demographics, Such as name, address, telephone
  a Set distance from the fixation target 21 to properly locate number, age, weight, Sex, name and address of the patient's
  a patient for the retinal Screening exam as described here eye doctor, etc., into the CPU 40 via the touchscreen 26 or
  after.                                                            other input interface provided on the housing 14. A patient
     As shown in FIG. 1, a user interface 26 is mounted in the      will sit in the chair 16 and fix his or her chin on the chin pad,
  housing 14 with an exterior Surface accessible through the if a chin pad is provided, or fix his or her forehead against
  wall of the housing 14. The input interface 26 may take a a forehead rest, if provided. At a Set time or by means of a
  number of different forms, including a conventional keypad, Start button provided on the housing 14, the apparatus 12 is
  pushbuttons or, as shown in FIGS. 1 and 2, a touchscreen.         activated. The camera 22 auto focuses the lens 20 to the
     The touchscreen 26 is usable to provide instructions to the 25 proper focal length and takes a digital retinal image of one
  user as well as to accept inputs by means of the user touching of the patient’s eyes. The patient then shifts his or her
  Selected portions of the touchscreen 26 on which appear position relative to the fixation target 21 and then repeats the
  input Selections, including a keyboard display to enable a above process to enable the camera 22 to take a digital
  user to enter user demographics, Such as name, address, retinal image of the patient's other eye.
  phone number, age, weight, Sex, and other information                The camera 22 outputs the digital images to the CPU 40
  pertinent to a retinal exam.                                      which converts the digital information into digital images
     An optional display 30 in the form of a video monitor is which can be displayed on the monitor 30, either by them
  also mounted in the housing 14. The monitor 30 is used, as Selves or in a Side-by-side comparison with a set of control
  described hereafter, to display clinical retinal photographs of images showing healthy and diseased eyes.
  different eye diseaseS as well as photographs of healthy eyes 35 An important feature of the present apparatus 10 is a
  to enable a user to Self compare their retinal image with a Set network connection provided by a network interface 44 from
  of control retinal images. The monitor 30 can thus display the CPU 40 to a central CPU or station 46 shown in FIG. 4.
  both the patient's own retinal image as well as one control The network interface 44 provides connection to a data
  image of a diseased eye or a healthy eye.                         communication network 48, also shown in FIG. 4. The data
     It should also be noted that the user interface 26 when        communication      network 48 may be any type of data com
                                                                 40
  implemented in the form of a touchscreen may also be munication network, Such as a wide area or local area
  combined with the monitor 30 into a single touchscreen telephone network using dedicated telephone lines through
  monitor as is readily available in the marketplace.               a modem which comprises the network interface 44 to the
     Preferably, the monitor 30 is a color monitor to more central Station 46 or, if the patient can input his or her eye
  adequately display the retinal image.                          45 doctor's address and telephone number, directly to his or her
     Although not shown, a Service door is provided in the wall eye care physician.
  of the housing 14 to allow access to the interior of the             The network 48 may also comprise wireless data com
  housing 14 for Service or replacement of the various com munication networks, Such as the Internet. In this instance,
  ponents of the retinal Screening apparatus mounted within the network interface comprises a conventional modem
  the housing 14.                                                50 connection to a service provider. The central station 46 will
     The camera 22 is preferably a digital retinal camera that have an IP address allowing access to the data transmitted
  takes digital retinal photographs through a non-dilated pupil from any of the remote units 12. Alternately, cellular tele
  of a user Seated in the chair 16 or Standing at a Spaced phone and Satellite Systems, etc., may constitute the network
  distance from the fixation target 21. By example, a digital 48.
  retinal camera Sold by Canon as model CR-5 camera using 55 Likewise, if a patient can input his or her eye doctor's
  MVC 5000 retinal imaging software can be used to capture, Internet address or e-mail address, the digital retinal images
  display and Store high resolution retinal images of patient can be sent directly through the Internet 48 to the specified
  conditions.                                                       eye doctor.
     The camera 22 is preferably provided with an auto                 In the case where the digital retinal information is Sent to
  focusing lens System, including infrared Sensors and a motor 60 the central Station 46, the central Station 46 can print the
  lens focusing drive to auto focus on a patient's eye. digital retinal images for examination by an ophthalmologist
  Alternately, a fixed focal length lens can be used.               or eye care specialist. The diagnosis of any eye disease can
     For added clarity, a chin Support may be mounted by be handled with different levels of concern and educational
  means of a bracket, not shown, on the housing 14 So as to information sent back to the patient. When severe eye
  receive a patient's chin and position the patient's eyes at a 65 disease is detected, a higher degree of concern will be raised
  Set distance from the fixation target 21 and the adjacent in follow-up with the patient advising the patient to contact
  camera 22.                                                        an eye care specialist would then be strongly recommended
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  by either by telephone call, letter or both. If the patient’s eye   3. The medical Screening apparatus of claim 2 wherein:
  doctor is provided by the patient, the same information can         the control means includes a central processing unit
  be sent directly to the Specified doctor.                               executing a control program Stored in a memory
     The end result of the use of the retinal image apparatus of          coupled to the central processing unit.
  the present invention is that more people are exposed to easy 5 4. The medical Screening apparatus of claim 1 wherein the
  and free retinal eye examinations thereby increasing the
  probability of identifying patients with diabetic retinopathy, transmitting means comprises:
  glaucoma or other eye diseases earlier in the course of the         means for communicating the test output via a global
  disease. AS numerous Studies have shown, early intervention             telecommunication network.
  with medical treatment can significantly reduce the risk of         5. The medical Screening apparatus of claim 1 wherein the
  loss of vision and blindness.                                     user interface comprises:
     In general, the retinal examination apparatus of the             a Video display terminal mounted in the integrated hous
  present invention includes a housing, an auto focus, digital            ing.
  retinal camera mounted within the housing, the user inter            6. The medical Screen apparatus of claim 5 wherein:
  face for inputting patient demographics, a display for dis
  playing captured digital retinal images of the patient's eyes 15 the Video display terminal is at least one of a user interface
  and/or comparing the patient's digital retinal images with              and a Video output display of the test output.
  healthy and diseased eyes for Self comparison by the patient,       7. The medical Screening apparatus of claim 5 wherein:
  and a network interface for connection to a communication           the Video display terminal is a user interface and a Video
  network wherein the captured digital retinal images of each             output display for displaying the test output to the user.
  patient are transmitted to the patient's doctor or to a central     8. The medical Screening apparatus of claim 1 wherein:
  Station for comparison and follow-up, if follow-up is               the medical test apparatus is a retinal Screening apparatus.
  needed.                                                             9. The medical screening apparatus of claim 8 wherein:
     Although the present invention has been described as a           the   retinal Screening apparatus includes a digital retinal
  retinal Screen apparatus devised specifically for taking and
  transmitting digital retinal images of a patient's eyes, the 25 10.Caca.  The medical screening apparatus of claim 8 further
  present invention also contemplates the retinal Screening comprising:
  proceSS as being but one of a number of Separate and/or             means for establishing a predetermined position of the
  available functions which may be provided in a So-called                user's eye with respect to the medical test apparatus in
  "medical kiosk. In this configuration, a housing Similar to             the integrated housing.
  the housing 14 may also incorporate other medical test               11. The medical Screening apparatus of claim 10 wherein
  equipment, Such as glucose test equipment utilizing an the position              establishing means comprises:
  oxygen Sensor attachable to a patient to measure the patents
  blood Sugar levels. A blood pressure cuff may also be               a chin Support mounted at a fixed distance from the
  provided to obtain a patient’s blood pressure. Pulmonary                integrated housing.
  function equipment including a breathing tube and Suitable           12. The medical Screening apparatus of claim 10 wherein
  test equipment may also be mounted within the housing 14 35 the position establishing means comprises:
  to measure a patient's pulmonary capacity. Of course, each          a Seat mounted on the housing at a fixed distance from the
  Specific test would require its own test equipment mounted              integrated housing.
  within the housing 14 to measure and digitize the input data         13. A method for executing a medical test on a user
  collected during each Specific test. However, the resulting patient, the method comprising the Steps of:
  data, when properly formatted by the CPU 40, can then be 40 initiating a fully automated medical test in response to
  transmitted via the network 48 to the central station 46. The           patient activation of a testing apparatus included in an
  central Station 46 will then compare each Specific test data            integrated housing,
  with Specific body functions Standards, Such as Safe or             providing     a user interface in the integrated housing for
  unhealthy glucose levels, blood pressure levels or pulmo                receiving user data;
  nary functions. Appropriate results will then be transmitted 45 providing        a medical test apparatus in the integrated hous
  to the patient's doctor or primary health care provider as
  indicated on the input demographic information or Sent                  ing for executing a medical test on a patient and
  directly to the patient with an explanation and whether or not          generating a test output, and
  further physician examination is appropriate.                       transmitting the test output to a remote site for analysis.
     What is claimed is:                                              14. The method of claim 13 wherein the transmitting step
     1. A medical Screening apparatus for executing a medical 50 further comprises:
  test on a patient comprising:                                       transmitting the test output and the user data to the remote
     an integrated housing having components for fully auto               Site via a global telecommunication network.
        mated testing initiated in response to patient activation;    15. The method of claim 13 wherein the step of providing
     a user interface mounted in the integrated housing for 55 the user interface comprises the Steps of
        inputting user related data;                                  providing a user interface for inputting user data in a
     a medical test apparatus mounted in the integrated hous              Video output terminal for displaying the test output.
        ing for automatically executing a medical test on a user       16. The method of claim 13 wherein the medical test
        and generating a test output;                               apparatus executes a retinal Screening test.
     means communicating with the medical test apparatus, for 60 17. The method of claim 16 wherein the step of providing
        transmitting the test output and patient demographics to a medical test apparatus includes providing a digital retinal
        a remote analysis Site.                                     camera in the integrated housing.
     2. The medical Screening apparatus of claim 1 further            18. The method of claim 16 further comprising a step of:
  comprising:                                                         establishing a predetermined position of the user's eye
     automated control means, mounted in the integrated                   with respect to the medical test apparatus in the inte
        housing, for controlling the user interface, the activa 65        grated housing.
        tion of the medical test apparatus and the operation of
        the transmitting means.
